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FR:BDM
F. #2018R00673

UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK
– – – – – – – – – – – – – – – –X

UNITED STATES OF AMERICA                            PRELIMINARY ORDER OF FORFEITURE

            - against -                             19-CR-280 (LDH)

ASHIQUL ALAM,

                          Defendant.

– – – – – – – – – – – – – – – –X

               WHEREAS, on or about December 17, 2021, Ashiqul Alam (the “defendant”),

entered a plea of guilty to the offense charged in the Sole Count of the above-captioned

Indictment, charging a violation of 18 U.S.C. § 922(k); and

               WHEREAS, pursuant to 18 U.S.C. § 924(d)(1) and 28 U.S.C. § 2461(c) the

defendant has consented to the forfeiture of all right, title, and interest to the United States in

two glock Model 19 9mm semi-automatic pistols and ammunition recovered on or about

June 6, 2019 (the “Seized Firearms and Ammunition”), as any firearm or ammunition

involved in or used in the defendant’s knowing violation of 18 U.S.C. § 922(k), and/or

substitute assets, pursuant to 21 U.S.C. § 853(p).

               IT IS HEREBY ORDERED, ADJUDGED AND DECREED, on consent, by

and between the United States and the defendant as follows:

               1.      Pursuant to 18 U.S.C. § 924(d)(1), 28 U.S.C. § 2461(c) and 21 U.S.C.

§ 853(p), the defendant shall forfeit to the United States all right, title, and interest in the

Seized Firearms and Ammunition.
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               2.     Upon entry of this Preliminary Order of Forfeiture (“Preliminary

Order”), the United States Attorney General or his designee is authorized to seize the Seized

Firearms and Ammunition, to conduct any proper discovery, in accordance with Fed. R.

Crim. P. 32.2(b)(3) and (c), and to commence any applicable proceedings to comply with

statutes governing third-party rights, including giving notice of this Preliminary Order. To

the extent that the Seized Firearms and Ammunition are in the custody of any state or local

authority, including but not limited to the Property Clerk Division of the New York City

Police Department, and are not subject to state or local forfeiture proceedings, such state or

local authority is hereby directed to make the Seized Firearms and Ammunition available for

seizure by federal authorities in accordance with this Order.

               3.     The United States shall publish notice of this Preliminary Order in

accordance with the custom and practice in this district on the government website

www.forfeiture.gov, of its intent to dispose of the Seized Firearms and Ammunition in such a

manner as the Attorney General or his designee may direct. The United States may, to the

extent practicable, provide direct written notice to any person known or alleged to have an

interest in the Seized Firearms and Ammunition as a substitute for published notice as to

those persons so notified.

               4.     Any person, other than the defendant, asserting a legal interest in the

Seized Firearms and Ammunition may, within thirty (30) days of the final publication of

notice or receipt of notice or no later than sixty (60) days after the first day of publication on

an official government website, whichever is earlier, petition the Court for a hearing without

a jury to adjudicate the validity of his or her alleged interest in the Seized Firearms and

Ammunition, and for an amendment of the order of forfeiture, pursuant to 21 U.S.C.
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§ 853(n)(6). Any petition filed in response to the notice of forfeiture of the Seized Firearms

and Ammunition must be signed by the petitioner under penalty of perjury and shall set forth

the nature and extent of the petitioner’s right, title, or interest in the property, the time and

circumstances of the petitioner’s acquisition of the right, title, or interest in the property, any

additional facts supporting the petitioner’s claim, and the relief sought.

               5.      The defendant shall not file a claim or petition seeking remission or

contesting the forfeiture of the Seized Firearms and Ammunition in any administrative or

judicial (civil or criminal) proceeding. The defendant shall not assist any person or entity in

the filing of any claim or petition seeking remission or contesting the forfeiture of the Seized

Firearms and Ammunition in any administrative or judicial (civil or criminal) forfeiture

proceeding. The defendant shall fully assist the government in effectuating the surrender and

forfeiture of the Seized Firearms and Ammunition to the United States. The defendant shall

take whatever steps are necessary to ensure that clear title to the Seized Firearms and

Ammunition passes to the United States, including, but not limited to, the execution of any

and all documents necessary to effectuate the surrender and forfeiture of the Seized Firearms

and Ammunition to the United States. Further, if any third party files a claim to the Seized

Firearms and Ammunition, the defendant will assist the government in defending such

claims. If the Seized Firearms and Ammunition are not forfeited to the United States, the

United States may seek to enforce this Preliminary Order against any other assets of the

defendant up to the value of the Seized Firearms and Ammunition, pursuant to 21 U.S.C.

§ 853(p). The defendant further agrees that the conditions of 21 U.S.C. § 853(p)(1)(A)-(E)

have been met.



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              6.      The defendant knowingly and voluntarily waives his right to any

required notice concerning the forfeiture of the monies and/or properties forfeited hereunder,

including notice set forth in an indictment, information or administrative notice. In addition,

the defendant knowingly and voluntarily waives his right, if any, to a jury trial on the

forfeiture of the Seized Firearms and Ammunition, and waives all constitutional, legal and

equitable defenses to the forfeiture of said monies and/or properties, including, but not

limited to, any defenses based on principles of double jeopardy, the Ex Post Facto clause of

the Constitution, any applicable statute of limitations, venue, or any defense under the Eighth

Amendment, including a claim of excessive fines.

              7.      Pursuant to Fed. R. Crim. P. 32.2(b)(4)(A) and (B), this Preliminary

Order shall become final as to the defendant at the time of the defendant’s sentencing and

shall be made part of the defendant’s sentence and included in his judgment of conviction. If

no third party files a timely claim, this Preliminary Order, together with Supplemental Orders

of Forfeiture, if any, shall become the Final Order of Forfeiture, as provided by Fed. R. Crim.

P. 32.2(c)(2). At that time, the monies and/or properties forfeited herein shall be forfeited to

the United States for disposition in accordance with the law.

              8.      The United States alone shall hold title to the Seized Firearms and

Ammunition following the Court’s disposition of all third-party interests, or, if none,

following the expiration of the period provided in 21 U.S.C. § 853(n)(2).

              9.      The forfeiture of the Seized Firearms and Ammunition is not to be

considered a payment of a fine, penalty, restitution loss amount, or payment of any income

taxes that may be due, and shall survive bankruptcy.



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              10.     This Preliminary Order shall be binding upon the defendant and the

successors, administrators, heirs, assigns and transferees of the defendant, and shall survive

the bankruptcy of any of them.

              11.     This Preliminary Order shall be binding only upon the Court’s “so

ordering” of the Order.

              12.     The Court shall retain jurisdiction over this action to enforce

compliance with the terms of this Preliminary Order and to amend it as necessary, pursuant

to Fed. R. Crim. P. 32.2(e).

Dated: Brooklyn, New York
                    September 16 2022
       ________________________,

                                               SO ORDERED:


                                                s/ LDH
                                               ______________________________________
                                               HONORABLE LASHANN DEARCY HALL
                                               UNITED STATES DISTRICT JUDGE
                                               EASTERN DISTRICT OF NEW YORK




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